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 8                       UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10                               ----oo0oo----
11   JON-CORY SCHMIDT
                                            NO. 2:10-CV-03022 FCD/EFB
12             Plaintiffs,
13        v.                                MEMORANDUM AND ORDER
14   COUNTY OF NEVADA; NEVADA
     COUNTY SHERIFF’S OFFICE; JAMES
15   BENNETT; and DOES 1-20
     inclusive,
16
               Defendants.
17                               ----oo0oo----
18        This matter is before the court on the motion of defendants
19   County of Nevada (“Nevada County”), Nevada County Sheriff’s
20   Office (“Sheriff’s Office”), and James Bennet (“Bennett”)
21   (collectively, “defendants”) to dismiss plaintiff’s complaint
22   pursuant to Federal Rule of Civil Procedure (“FRCP”) 12(b)(6).1
23   Plaintiff Jon-Cory Schmidt (“plaintiff”) opposes the motion.            For
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               Defendants also moved for a more definitive statement
27   under FRCP 12(b)(6). Because, as set forth below, defendants
     motion to dismiss is GRANTED, the court does not address the
28   merits of this motion.

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 1   the reasons set forth below, defendants’ motion to dismiss is
 2   GRANTED.2
 3                                  BACKGROUND
 4           Plaintiff is the owner of a parcel of land located in Nevada
 5   County.     According to plaintiff, he “and nine other interested
 6   parties were in lawful possession of medical cannabis
 7   recommendations issued by licensed California Physicians.”
 8   (Pl.’s Compl. [“Compl.”], filed Oct. 12, 2010 [Docket #1],
 9   ¶ 14.)    “Pursuant to those recommendations, they cultivated a
10   community or collaborative garden” consisting of eighty immature
11   marijuana plants on plaintiff’s property.        (Id.)    Plaintiff
12   alleges that the marijuana plants were legally cultivated in
13   compliance with California Health & Safety Code § 11362.5 et seq.
14   (Id.)
15        In September 2009, defendant Bennet, a Nevada County
16   Sheriff, filed an affidavit with Nevada County Magistrate Judge
17   Catherine Heidelberger for purposes of obtaining a warrant to
18   search the premises of plaintiff’s home.       (Id. ¶ 15.)    Judge
19   Heidelberger reviewed the affidavit, determined probable cause
20   existed, and issued the requested warrant.        (Id.)    On September
21   22, 2009, defendants executed the warrant, seizing at least
22   eighty immature marijuana plants growing on plaintiff’s property.
23   (Id. at 16.)     Defendants also seized various other marijuana-
24   related contraband, including ten pounds of already cultivated
25   marijuana.    (Id.)
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27        2
               Because oral argument will not be of material
     assistance, the court orders this matter submitted on the briefs.
28   E.D. Cal. L.R. 230(g).

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 1        Plaintiff then filed a motion for return of the marijuana
 2   and other items seized pursuant to California Penal Code §§ 1539
 3   and 1540 in California Superior Court for the County of Nevada.
 4   (Pl.’s Opp’n [“Opp’n”], filed Feb 24, 2011 [Docket #21], at
 5   2:20–22.)     On December 1, 2009, plaintiff and his attorney
 6   appeared before Judge Heidelberger for oral argument on the
 7   motion.   (Opp’n, Ex. 1.)    After the hearing, Judge Heidelberger
 8   issued a written order,3 denying the motion for return of the
 9   marijuana.    (Id.)    The order explained that return of the
10   marijuana was not warranted because plaintiff did not have legal
11   possession.    (Id.)
12        Plaintiff then petitioned for a writ of mandate, requesting
13   that the appellate division of the Nevada County Superior Court
14   vacate Judge Heidelberger’s order.       (Opp’n at 2:23–25.)    On April
15   26, 2010, Superior Court Judge C. Anders Holmer issued a written
16   tentative order on the writ.     (Id.)    According to the court, “the
17   central issue [raised by the writ] was whether or not petitioner
18   was in lawful possession of the marijuana seized.”        (Defs.’ Mtn
19   to Dismiss [“MTD”], filed Dec. 01, 2010 [Docket #8],        Ex. 1.)
20   The court denied the writ, holding that pursuant to relevant
21   statutory and case law, plaintiff was not in legal possession of
22   the marijuana.    (Id.)    The court adopted the tentative ruling on
23   May 26, 2010.    (Id.)
24        Plaintiff then filed this complaint, asserting four claims
25   for relief: (1) unlawful detention of personal property; (2)
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               While the order denied the motion for return of the
27   marijuana and other related illegal substances, it required that
     certain items seized by Nevada County be returned to plaintiff.
28   (Opp’n., Ex. A.)

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 1   declaratory relief; (3) damages for violation of equal protection
 2   rights under 42 U.S.C. § 1983; and (4) conversion of personal
 3   property against defendants.     (Compl. ¶¶ 19–37.)     Specifically,
 4   plaintiff contends that defendants “have illegally seized such
 5   medical marijuana through unlawful seizure, confiscation, and
 6   impoundment.”   (Compl. ¶ 22.)    Plaintiff alleges that the seizure
 7   violated his constitutional rights by depriving him, without due
 8   process of law, of eighty immature marijuana plants that
 9   plaintiff asserts he lawfully possessed pursuant to California’s
10   Compassionate Use Act.    (Compl. ¶¶ 10–16.)     Finally, plaintiff
11   alleges defendants “made unreasonable and illegal searches and
12   seizures . . . and deprived plaintiff of his rights, privileges,
13   and immunities as guarantied by the Fourth and Fourteenth
14   Amendments to the United States Constitution.”       (Compl. ¶ 11.)
15                                  STANDARD
16        Under Federal Rule of Civil Procedure 8(a), a pleading must
17   contain “a short and plain statement of the claim showing that
18   the pleader is entitled to relief.”       See Ashcroft v. Iqbal, 129
19   S. Ct. 1937, 1949 (2009).    Under notice pleading in federal
20   court, the complaint must “give the defendant fair notice of what
21   the claim is and the grounds upon which it rests.”        Bell Atlantic
22   v. Twombly, 550 U.S. 544, 555 (2007) (internal quotations
23   omitted).   “This simplified notice pleading standard relies on
24   liberal discovery rules and summary judgment motions to define
25   disputed facts and issues and to dispose of unmeritorious
26   claims.”    Swierkiewicz v. Sorema N.A., 534 U.S. 506, 512 (2002).
27        On a motion to dismiss, the factual allegations of the
28   complaint must be accepted as true.       Cruz v. Beto, 405 U.S. 319,

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 1   322 (1972).   The court is bound to give plaintiff the benefit of
 2   every reasonable inference to be drawn from the “well-pleaded”
 3   allegations of the complaint.     Retail Clerks Int’l Ass’n v.
 4   Schermerhorn, 373 U.S. 746, 753 n.6 (1963).       A plaintiff need not
 5   allege “‘specific facts’ beyond those necessary to state his
 6   claim and the grounds showing entitlement to relief.”        Twombly,
 7   550 U.S. at 570.    “A claim has facial plausibility when the
 8   plaintiff pleads factual content that allows the court to draw
 9   the reasonable inference that the defendant is liable for the
10   misconduct alleged.”   Iqbal, 129 S. Ct. at 1949.
11        Nevertheless, the court “need not assume the truth of legal
12   conclusions cast in the form of factual allegations.”        United
13   States ex rel. Chunie v. Ringrose, 788 F.2d 638, 643 n.2 (9th
14   Cir. 1986).   While Rule 8(a) does not require detailed factual
15   allegations, “it demands more than an unadorned, the defendant-
16   unlawfully-harmed-me accusation.”      Iqbal, 129 S. Ct. at 1949.       A
17   pleading is insufficient if it offers mere “labels and
18   conclusions” or “a formulaic recitation of the elements of a
19   cause of action.”   Twombly, 550 U.S. at 555; Iqbal, 129 S. Ct. at
20   1950 (“Threadbare recitals of the elements of a cause of action,
21   supported by mere conclusory statements, do not suffice.”).
22   Moreover, it is inappropriate to assume that the plaintiff “can
23   prove facts which it has not alleged or that the defendants have
24   violated the . . . laws in ways that have not been alleged.”
25   Associated Gen. Contractors of Cal., Inc. v. Cal. State Council
26   of Carpenters, 459 U.S. 519, 526 (1983).
27        Ultimately, the court may not dismiss a complaint in which
28   the plaintiff has alleged “enough facts to state a claim to

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 1   relief that is plausible on its face.”        Iqbal, 129 S. Ct. at 1949
 2   (citing Twombly, 550 U.S. at 570).        Only where a plaintiff has
 3   failed to “nudge [his or her] claims across the line from
 4   conceivable to plausible,” is the complaint properly dismissed.
 5   Id. at 1952.    While the plausibility requirement is not akin to a
 6   probability requirement, it demands more than “a sheer
 7   possibility that a defendant has acted unlawfully.”          Id. at 1949.
 8   This plausibility inquiry is “a context-specific task that
 9   requires the reviewing court to draw on its judicial experience
10   and common sense.”     Id. at 1950.
11         In ruling upon a motion to dismiss, the court may consider
12   only the complaint, any exhibits thereto, and matters which may
13   be judicially noticed pursuant to Federal Rule of Evidence 201.
14   See Mir v. Little Co. Of Mary Hospital, 844 F.2d 646, 649 (9th
15   Cir. 1988); Isuzu Motors Ltd. v. Consumers Union of United
16   States, Inc., 12 F. Supp. 2d 1035, 1042 (C.D. Cal. 1998).
17                                    ANALYSIS
18   A.    Collateral Estoppel
19         Defendants contend that the court must dismiss plaintiff’s
20   claims4 for unlawful detention and conversion because the Nevada
21   County Superior Court, in two separate proceedings and two
22   written orders, determined that plaintiff was not in lawful
23   possession of the marijuana.       (“MTD” at 4:4–5:10.)     Specifically,
24   defendants contend that the doctrine of collateral estoppel bars
25
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               Plaintiff’s claims are laid out in the complaint as
26   follows: first cause of action: unlawful detention of personal
     property; second cause of action: declaratory relief; third cause
27   of action: violation of the federal equal protection clause;
     sixth cause of action: conversion. (Compl. ¶¶ 19–37.)
28   Plaintiff did not file a fourth or fifth claim.

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 1   plaintiff from re-litigating the issue of whether he was in
 2   lawful possession of the marijuana, and thus, his claims for
 3   unlawful detention and conversion, which require plaintiff to
 4   demonstrate lawful possession, must be dismissed with prejudice.
 5        State judicial proceedings receive the same full faith and
 6   credit in every federal court as they would have in the courts of
 7   the state in which the matter originated.       28 U.S.C. § 1783.
 8   Section 1783 “directs a federal court to refer to the preclusion
 9   law of the State in which judgment was rendered.”        Marrese v.
10   American Assoc. of Orthopaedic Surgeons, 470 U.S. 373, 380 (1985)
11   (“§ 1783 requires a federal court to look first to state
12   preclusion law in determining the preclusive effects of a state
13   court judgment”).   Therefore, this court will apply California
14   law to determine whether the previous adjudications in California
15   Superior Court will preclude plaintiff from relitigating whether
16   he was in lawful possession of the marijuana.
17        In California, collateral estoppel precludes relitigation of
18   an issue previously adjudicated when the following elements are
19   satisfied:
20        First, the issue sought to be precluded from
          relitigation must be identical to that decided in a
21        former proceeding. Second, this issue must have been
          actually litigated in the former proceeding. Third, it
22        must have been necessarily decided in the former
          proceeding. Fourth, the decision in the former
23        proceeding must be final and on the merits. Finally,
          the party against whom preclusion is sought must be the
24        same as, or in privity with, the party to the former
          proceeding.
25
     Hernandez v. City of Pomona, 46 Cal. 4th 501, 513 (2009)
26
     (internal citations omitted) (quoting Lucido v. Superior Court,
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     51 Cal. 3d 335, 341 (1990)).
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 1        Plaintiff argues that neither of the holdings by the Nevada
 2   County Superior Court can be given preclusive effect because: (1)
 3   the issue of lawful possession was not necessarily decided;5 (2)
 4   the ruling by the magistrate on the motion for return of the
 5   property was not final and on the merits because it was a
 6   “special proceeding”; (3) the denial of the writ of mandamus was
 7   not final and on the merits because it did not result in a
 8   sufficient written decision; (4) California’s public interest
 9   exception applies to preclude the application of collateral
10   estoppel; and (5) applying collateral estoppel in this case would
11   violate due process.
12        1.   Necessarily Decided
13        Plaintiff contends that the Superior Court judges’ rulings
14   on the issue of lawful possession cannot have preclusive effect
15   because it was not necessarily decided.      (Opp’n at 6:2–6.)     An
16   issue is necessarily decided when two elements are satisfied:
17   (1) the issue was actually decided; and (2) the determination of
18   the issue was necessary to render a valid judgment on the merits
19   of the underlying proceeding.     See Beechwood Restorative Care
20   Center v. Leeds, 436 F.3d 147, 153 (2d Cir. 2007).
21        In this case, both divisions of the Nevada County Superior
22   Court necessarily decided the issue of lawful possession.         First,
23   the magistrate judge actually decided the issue on the motion for
24   return of the marijuana.    Indeed, the court’s written order
25   expressly provides that plaintiff was not in legal possession of
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               Plaintiff does not dispute that the issue of whether he
27   lawfully possessed the marijuana was actually litigated, that the
     issue is identical or that the party against whom preclusion is
28   sought is the same as the party to the former proceeding.

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 1   the marijuana.    (Opp’n, Ex. 1.)   Second, the determination of
 2   lawful possession was necessary to render a final judgment on the
 3   merits of the that motion.    (See Id.)    The court noted that
 4   plaintiff “would be entitled to return of marijuana that was
 5   lawfully cultivated and possessed . . . [however] there is no
 6   evidence before the court to support his contention that all of
 7   the marijuana was lawfully cultivated and possessed.”        (Id.)
 8   Similarly, the Nevada County Superior Court, appellate division
 9   actually and necessarily decided the same issue in ruling upon
10   plaintiff’s petition for writ of mandate.       The court explicitly
11   stated: “[t]he central issue [raised by the writ was] whether or
12   not petitioner was in lawful possession of the marijuana seized.”
13   (MTD, Ex. 1 at 15.)    The Appellate Division of The Superior Court
14   denied the petition, holding that “petitioner’s possession [of
15   marijuana] greatly exceeded the legal limit.”       (Id.)
16           Therefore, the issue whether plaintiff was in lawful
17   possession of the marijuana at issue in this case was necessarily
18   decided in the negative on two separate occasions.6
19   /////
20   /////
21
22           6
               Plaintiff argues that the determination of whether he
     lawfully possessed the marijuana was “arguably moot” because
23   Nevada County already destroyed the marijuana, and thus, the
     court did not have power to return it. (Opp’n at 4:26.) First,
24   plaintiff proffers no evidence that the marijuana was actually
     destroyed prior to judgment on the motion. Even if the state did
25   not have the power to return the marijuana, however, the issue of
     lawful possession was necessary to the disposition of the
26   specific motion in question. Moreover, the issue of lawful
     possession was the central issue to be determined on the petition
27   for writ of mandate and was therefore essential to the
     disposition of that petition. Therefore, plaintiff’s arguments
28   are without merit.

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 1        2.   Special Proceeding
 2        Plaintiff alleges that Judge Heidelberger’s ruling on
 3   plaintiff’s motion for return of his property cannot be given
 4   preclusive effect because plaintiff’s motion was a “special
 5   proceeding.”
 6         California courts have held that when a claim is brought in
 7   litigation following a “special proceeding” that decided a
 8   related issue, that claim is not necessarily barred by principles
 9   of res judicata.   See Mata v. City of Los Angeles, 20 Cal. App.
10   4th 141, 149 (1993); Knickerbocker v. City of Stockton, 199 Cal.
11   App. 3d 235, 245 (1988).    In Mata, the court explained that a
12   petition for writ of mandamus is technically a special proceeding
13   for purposes of claim preclusion.       Id.   However, the court
14   explained that, notwithstanding the fact that a writ petition is
15   a special proceeding, “[t]he judgment in the mandamus proceeding
16   was not to be ignored” for purposes of issue preclusion.           Mata,
17   199 Cal. App. 3d at 245.    Under the doctrine of issue preclusion,
18   the judgment in a mandamus proceeding “operates as an estoppel or
19   conclusive adjudication as to such issues in the second action
20   that were actually litigated and determined in the first action.”
21   (Id.) (internal citations omitted) (emphasis added).         Therefore,
22   a special proceeding will have issue preclusive effect as long as
23   the elements of collateral estoppel are met.
24        As set forth above, the elements of collateral estoppel have
25   been met in this case; the precise issue of lawful possession was
26   previously litigated and conclusively determined in favor of
27   defendants in both the motion for return of the marijuana and the
28   writ proceeding.   Therefore, the doctrine of collateral estoppel

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 1   bars plaintiff from relitigating the issue of lawful possession
 2   in this action, regardless of whether issue was previously
 3   determined in a “special proceeding.”
 4        3.     Written Decision
 5        Plaintiff contends the appellate division of the Nevada
 6   County Superior Court’s ruling on the writ application was not a
 7   final judgment on the merits, and thus, cannot be given
 8   preclusive effect.    (Opp’n at 6:7–11.)     Specifically, plaintiff
 9   argues that “unless there is a written opinion issued following
10   the issuance of alternative writ, the denial of writ petition
11   does not have issue preclusive effect.”       Id.   (emphasis omitted).
12        The issuance of an alternative writ will not be final and on
13   the merits, and thus will not have preclusive effect, unless
14   there is a sufficient writing explaining the basis for the
15   ruling.    Gammoh v. City of Anaheim, 73 Cal. App. 4th 186, 196
16   (1999).
17        In this case, the appellate division of the Nevada County
18   Superior Court issued, in writing, a reasoned tentative ruling
19   explaining its basis for denying plaintiff’s petition for writ of
20   mandate.   (See MTD, Ex. 1.)    This tentative ruling specifically
21   addressed and refuted each of plaintiff’s arguments and, relying
22   on specific statutory and case law, explained why plaintiff was
23   not in lawful possession of the marijuana.       (See MTD, Ex. 1.)
24   (“In [Chaves v. Superior Court], as here, petitioner’s possession
25   greatly exceeded the legal limit.”)      That tentative ruling was
26   later adopted as the court’s final decision.        (Id.)   As such, the
27   court’s ruling on the petition for writ of mandamus was supported
28   by a written order setting forth the basis for its decision.

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 1        The cases cited by plaintiff in support of his assertion
 2   that the writing in this case was not sufficient are
 3   distinguishable.   In Gammoh, the court did not attach preclusive
 4   effect to a minute order that summarily denied a writ petition
 5   for a preliminary injunction without explaining the basis for the
 6   ruling on the merits.    Gammoh, 73 Cal. App. 4th at 195 (“We have
 7   never passed on the merits of Gammoh’s argument; and Gammoh has a
 8   right to appeal from the final judgment in this case and receive
 9   a written statement of reasons for the court’s decision”).
10   Similarly, in Hoverstein v. Superior Court, 74 Cal. App. 4th 636
11   (1999), the court declined to give preclusive effect to the
12   summary denial of a writ decision that was not supported by any
13   written explanation.    However, unlike the facts of both Gammoh
14   and Hoverstein, in which the courts provided no basis for their
15   rulings, the appellate division in this case issued a written
16   tentative ruling that was later adopted, which adequately
17   explained its basis for denying the petition.
18        Therefore, the appellate division’s determination that
19   plaintiff was not in lawful possession of the marijuana was final
20   and on the merits.
21        4.     Public Interest Exception
22        Plaintiff next contends that, even if the previous decisions
23   on the issue of lawful possession satisfy the elements of
24   collateral estoppel, the “public interest requires that re-
25   litigation [of the issue] not be foreclosed.”        (Opp’n at
26   6:25–27.)   Specifically, plaintiff alleges that the public
27   interest trumps the application of collateral estoppel in this
28   case “[b]ecause the officer seizing the medical marijuana failed

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 1   to retain the property and seek a court order before its
 2   destruction.”   (Opp’n at 8:13–15.)
 3        “[W]hen the issue is a question of law rather than of fact,
 4   the prior determination is not conclusive either if injustice
 5   would result or if the public interest requires that relitigation
 6   not be foreclosed.”     Sacramento v. State of California, 50 Cal.
 7   3d 51, 64 (1990).   Importantly, “[t]he public interest exception
 8   is an extremely narrow one.”     Arcadia Unified Sch. Dist. v. State
 9   Dep’t of Educ., 2 Cal. 4th 251, 259 (1992).       Indeed, the
10   California Supreme Court has emphasized the “it is the exception,
11   not the rule, and is only to be applied in exceptional
12   circumstances.”   Id.    The public interest exception will only
13   apply when the specific issue affects the public interest at
14   large.   See e.g., id. (holding that collateral estoppel does not
15   bar relitigation of the validity of a public school’s statutory
16   authority to charge fees for pupil transportation); Sacramento,
17   50 Cal. 3d 51 (explaining that parties could relitigate whether
18   the State was required to subvent costs incurred by local
19   governments); Kopp v. Fair Political Practices Comm’n, 11 Cal.
20   4th 607 (1995) (finding that the exception applied to allow
21   relitigation of whether campaign financing provisions were
22   constitutional or could be rewritten to be constitutional).
23        Here, the resolution of this matter does not entail the kind
24   of broad sweeping policy matters in which courts will apply the
25   narrow public interest exception to ensure those types of salient
26   public matters receive sufficient judicial review.        Rather,
27   plaintiff’s claim does not implicate the interest of the public
28   at large in any regard — plaintiff’s claim for conversion and

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 1   unlawful detention is a private action for damages resting on
 2   allegations that his marijuana was improperly seized.7         Therefore,
 3   California’s public interest exception does not bar the
 4   application of collateral estoppel in this case.
 5        5.   Due Process
 6        Finally, plaintiff argues that the application of collateral
 7   estoppel in this case violates due process.       (Opp’n at 8:16–9:5.)
 8   Specifically, plaintiff asserts: “it is clear that the plaintiff
 9   was given no notice, nor opportunity, to object to the seizure of
10   his property by law enforcement officers.”8       (Id. at 8:26–27.)
11        The Due Process Clause requires notice and an opportunity
12   for a hearing, appropriate to the nature of the case, before a
13   person is deprived of life, liberty, or property.        Mullane v.
14   Central Hanover Bank & Trust Co., 339 U.S. 306, 313 (1950).
15   Notice is required because “the right to be heard has little
16   reality or worth unless one is informed that the matter is
17   pending and can choose for himself whether to appear or default,
18   acquiesce or contest.”    Id. at 314.    The due process requirement
19   of a hearing, does not, however, mean that in every civil case
20   there must be a hearing on the merits.       See e.g., Boddie v.
21
22        7
               Plaintiff alleges that the marijuana was illegally
     seized. However, plaintiff admits in his complaint that the
23   Nevada County officials obtained a valid warrant prior to
     entering his property. (Opp’n at 2:9–12.) (“After due
24   consideration of the affidavits and petition, the Court issued
     Search Warrant No. 2958 on September 14, 2009.”).
25
          8
               The court notes that whether the seizure of plaintiff’s
26   contraband was consistent with due process is irrelevant to the
     determination of whether the court can apply collateral estoppel
27   to determinations by the state court regarding whether plaintiff
     was in lawful possession of the marijuana. Nevertheless, the
28   court discusses due process for the sake of completeness.

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 1   Connecticut, 401 U.S. 371, 378 (1971).          It is well recognized
 2   that the opportunity to be heard is one which must be granted “at
 3   a meaningful time and in a meaningful manner.”          Armstrong v.
 4   Manzo, 380 U.S. 545, 552 (1965).
 5           Here, plaintiff was provided sufficient notice and
 6   opportunity to litigate the question of whether he was in lawful
 7   possession of the marijuana.       First, plaintiff filed the motion
 8   for return of the marijuana and was present in court, represented
 9   by his attorney, during the hearing on the motion.          (See Opp’n,
10   Ex. 1.)    Second, plaintiff raised and argued the issue of lawful
11   possession of the marijuana before the appellate division of the
12   Nevada County Superior Court.       Therefore, due process concerns
13   cannot preclude the application of collateral estoppel in this
14   case.
15            Plaintiff’s claims for both unlawful detention and
16   conversion require plaintiff to show that he was in lawful
17   possession of the marijuana.       Moore v. Regents of Univ. of Cal.,
18   51 Cal. 3d 120, 136 (Cal. 1990).          Since two judges in two
19   proceedings have conclusively determined that plaintiff was not
20   in lawful possession of the marijuana, he is collaterally
21   estopped from relitigating that issue in this case.           Therefore,
22   plaintiff cannot, as a matter of law, prevail on his claims for
23   unlawful detention and conversion.         Accordingly, defendants
24   motion to dismiss plaintiff’s first and sixth claims is GRANTED
25   without leave to amend.
26   B.      Section 1983
27           Defendants contend that plaintiff’s complaint fails to
28   allege facts sufficient to state a claim under Section 1983.

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 1   Specifically, defendants contend that plaintiff’s allegation that
 2   defendants “subjected [plaintiff] to insidious discrimination
 3   with reference to various rules, codes, procedures[,] policies,
 4   ordinances, and regulations of Nevada County” is insufficient to
 5        Plaintiff’s allegations amount to the kind of “unadorned,
 6   the defendant-unlawfully-harmed-me accusation” that Federal Rule
 7   of Civil Procedure 8(a) deems insufficient to state a viable
 8   claim for relief.   Iqbal, 129 S. Ct. at 1949.       Without stating
 9   specifically which “policies” defendants applied to plaintiff and
10   the manner in which those policies were “discriminatorily
11   applied,” plaintiff’s complaint fails to comply with the notice
12   pleading requirements set forth in Federal Rule of Civil
13   Procedure 8.
14        Therefore, defendant’s motion to dismiss plaintiff’s third
15   claim for relief is GRANTED with leave to amend.9
16                                  CONCLUSION
17        For the foregoing reasons, defendants’ motion to dismiss is
18   GRANTED:
19        1.    Defendants’ motion to dismiss plaintiff’s first claim
20              for relief for unlawful detention is GRANTED without
21              leave to amend.
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24        9
               Plaintiff’s second claim for declaratory relief
     requires a sufficient showing that he has stated a viable claim
25   under one of his aforementioned theories of relief. Since the
     court grants defendants’ motion to dismiss each of the underlying
26   claims, the court does not reach the merits of plaintiff’s second
     claim for declaratory relief. To the extent that plaintiff can
27   amend his third claim for relief under Section 1983 to state a
     viable claim, plaintiff may amend his claim for declaratory
28   relief based on that violation.

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 1        2.    Defendants’ motion to dismiss plaintiff’s second claim
 2              for relief for declaratory relief is GRANTED with leave
 3              to amend.
 4        3.    Defendants’ motion to dismiss plaintiff’s third claim
 5              for relief for violation fo the federal Equal
 6              Protection Clause is GRANTED with leave to amend.
 7        4.    Defendants’ motion to dismiss plaintiff’s sixth claim
 8              for relief for conversion is GRANTED without leave to
 9              amend.
10   Plaintiff is granted fifteen (15) days from the date of this
11   order to file an amended complaint in accordance with this order.
12   Defendants are granted thirty (30) days from the date of service
13   of plaintiffs’ first amended complaint to file a response
14   thereto.
15        IT IS SO ORDERED.
16   DATED: March 29, 2011
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                                      FRANK C. DAMRELL, JR.
18                                    UNITED STATES DISTRICT JUDGE
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